311 F.2d 219
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.TOFFENETTI RESTAURANT COMPANY, Inc., Respondent.
    No. 134.
    Docket 27674.
    United States Court of Appeals Second Circuit.
    Argued November 27, 1962.
    Decided November 28, 1962.
    
      James McC. Harkless, Atty., N. L. R. B., Washington, D. C. (Stuart Rothman, Gen. Counsel, Dominick L. Manoli, Associate Gen. Counsel, Marcel Mallet-Prevost, Asst. Gen. Counsel, and Melvin J. Welles, Atty., N. L. R. B., Washington, D. C., on the brief), for petitioner.
      Pauline Teitelbaum, of Teitelbaum &amp; Teitelbaum, New York City (Morris Teitelbaum, New York City, on the brief), for respondent.
      Before LUMBARD, Chief Judge, and CLARK and KAUFMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      The National Labor Relations Board found that Toffenetti Restaurant Company, Inc., violated the National Labor Relations Act, § 8(a) (1, 3), 29 U.S.C. § 158(a) (1, 3), by discontinuing bonus payments to those of its employees who were represented by the union, by disqualifying union members from participation in its profit-sharing plan, and by liquidating the interests of union-represented employees in the profit-sharing plan in a discriminatory manner. The Board also found that respondent violated § 8(1, 5), 29 U.S.C. § 158(a) (1, 5), by unilateral effectuation of these discriminatory policies and by refusing to furnish the union, upon its request, with a copy of the profit-sharing plan and its amendment. 136 NLRB No. 106. These findings are amply supported by the record.
    
    
      2
      The petition for enforcement is granted and the Board's order will be enforced in full.
    
    